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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                     No. 15-873

                                     (Filed: October 28, 2016)

                                                )
 PER AARSLEFF A/S,                              )
                                                )
                Plaintiff,                      )
                                                )
        v.                                      )
                                                )
 UNITED STATES,                                 )
                                                )
                Defendant,                      )
        and                                     )
                                                )
 GREENLAND CONTRACTORS I/S                      )
 AND EXELIS SERVICES A/S,                       )
                                                )
                Defendant-Intervenors.          )
                                                )

                                     ORDER OF DISMISSAL

        In light of the decision of the court of appeals in the predecessor case to this one, see Per
Aarsleef A/S v. United States, 829 F.3d 1303 (Fed. Cir. 2016), and with the agreement of counsel
for the parties, see Pl.’s Status Report on Behalf of the Parties, ECF No. 42, the court orders that
this case be dismissed. The clerk is directed to enter judgment in accord with this disposition.

       No costs.

       It is so ORDERED.

                                              s/ Charles F. Lettow
                                              Charles F. Lettow
                                              Judge
